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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA
                                                                Cr. No. 16-10343-ADB
       v.

ALEC BURLAKOFF,

       Defendant.

      DEFENDANT ALEC BURLAKOFF’S ASSENTED-TO MOTION TO WAIVE
                APPEARANCE AT RESTITUTION HEARING

       Defendant Alec Burlakoff respectfully requests that this Court waive his appearance at the

restitution hearing scheduled for February 4, 2020.

       In support of this motion, Mr. Burlakoff states that he lives with his family in Florida and

requests that he be excused from attending the upcoming hearing so as to avoid the expense and

time associated with appearing at the upcoming hearing. If the Court waives Mr. Burlakoff’s

appearance, undersigned counsel will represent him at the hearing.

       The government assents to this motion.

                                                      ALEC BURLAKOFF

                                                      By his attorneys,

                                                      /s/ Joshua N. Ruby
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 29, 2020, I caused the foregoing motion to be electronically

filed via the Court’s CM/ECF system, which system will effectuate service on all counsel of record

who are properly registered with the CM/ECF system.



                                                     /s/ Joshua N. Ruby
                                                     Joshua N. Ruby




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